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I.     INTRODUCTION

       Plaintiff EcoFactor, Inc. (“EcoFactor”) hereby moves to exclude expert opinions of ecobee,

Inc. (“ecobee”)’s damages expert Michele Riley, pursuant to Federal Rule of Evidence 702.1 Ms.

Riley relies on transactions and valuations that she admits are not comparable to the hypothetical

negotiation. Among other non-comparable inputs, she relies on an asset purchase agreement that

expressly states that none of the consideration provided therein is related to patent rights, and a

patent license that is a sub-part of this larger deal and that includes no royalty provision at all. Ms.

Riley also relies on a one line “valuation” of EcoFactor’s entire patent portfolio made in the context

of this non-comparable transaction, and then asserts without evidence that this document shows

what EcoFactor would accept for any one of its patents.

       Ms. Riley’s opinions are contrary to law and the record, and methodologically deficient.

These opinions should therefore be excluded.

II.    ARGUMENT

       A.      Ms. Riley’s Discussion of Economically Non-Comparable Transactions and
               Valuations Should Be Excluded

                       1.      The Trane Asset Purchase Agreement

       For a damages expert, such as Ms. Riley, to present evidence of an agreement as part of

her damages opinion, the Federal Circuit requires that “there must be a basis in fact to associate

the royalty rates used in prior licenses to the particular hypothetical negotiation at issue in the

case.” Uniloc U.S.A. v. Microsoft Corp., 632 F.3d 1292, 1317 (Fed. Cir. 2011); see also Finjan,

Inc. v. Secure Computing Corp., 626 F.3d 1197, 1211 (Fed. Cir. 2010) (“[U]se of past patent


1
  Ms. Riley is ecobee’s damages expert in Case No. 6:20-cv-00078-ADA (“the -78 case”), which
was consolidated with Case No. 6:21-cv-00428-ADA in July 2022. Pursuant to the Court’s
December 29, 2022 guidance, EcoFactor is repackaging its previously filed motion directed to Ms.
Riley’s opinions (Dkt. No. 94) to remove portions relating to U.S. Patent No. 10,534,382, which
is no longer at issue here. See Dkt. No. 144.

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licenses under factors 1 and 2 must account for differences in the … economic circumstances of

the contracting parties.”). It is Ms. Riley’s (and ecobee’s) burden to establish the economic

comparability of the agreements on which she relies. Lucent Techs., Inc. v. Gateway, Inc., 580

F.3d 1301, 1329 (Fed. Cir. 2009). Moreover, “[w]hen relying on licenses to prove a reasonable

royalty, alleging a loose or vague comparability … does not suffice.” LaserDynamics, Inc. v.

Quanta Computer, Inc., 694 F.3d 51, 79 (Fed. Cir. 2012).

       In her report, Ms. Riley criticizes EcoFactor’s damages expert David Kennedy for not

addressing an asset purchase agreement between Trane U.S., Inc. (“Trane”) and EcoFactor,

presumably because the agreement included a patent license and covenant not to sue among its

many sub-parts. Ex. A, October 22, 2021 Expert Rebuttal Report on Damages, Michele M. Riley

(“Riley Rpt.”) ¶ 47.2     Ms. Riley claims that




                          and that




                        Id.

       By                     and             Ms. Riley is referring to the purchase price in the asset

agreement of                  . But even Ms. Riley admits that the acquisition included “EcoFactor



                                                      .” Id. ¶ 45. And the Asset Purchase Agreement




2
  Unless indicated otherwise, all citations to exhibits herein are to the Declaration of Reza Mirzaie
in support of this motion.


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is clear that the            is consideration only for the purchased assets, not for any patent rights.

Ex. B, EF_0665732-EF_06660573 at EF_0665737-738, Section 2.1 (defining

as including software software, documentation, copyrights, and trade secrets); id. at EF_0665738,

Section 2.2 (noting

and defining                     as                            ); id. at EF_0665739, Section 3.1

                                                                                                      )

(emphasis added).

        The patent license itself is an exhibit to the Asset Purchase Agreement, required for closing

of the overall deal. Id. at EF_0665741. Section 4.2(c) (requiring for the closing of the Asset

Purchase Agreement

                                                        ); EF_0665797 (attaching the Patent License

Agreement as Exhibit D to the Asset Purchase Agreement; EF_0665798



                                                   ).

         .   And Ms. Riley admits that the license is not comparable to that at the hypothetical

negotiation. Ex. C, November 5, 2021 Deposition of Michele Riley (“Riley Dep.”) at 63:19-64:5.

        Ms. Riley opines that the Trane agreement contains relevant evidence of a reasonable

royalty, but admits that it is not a comparable agreement. It is an asset purchase agreement, with

all payments provided for therein



                           The license at issue in the hypothetical negotiation, on the other hand,



3
 Ms. Riley cites to the version of this document produced by Trane in an ITC matter. As this
document was not produced in this case, EcoFactor here cites to a version produced in this case,
which is otherwise identical.

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would not be one subpart of a much larger deal, and thus cannot be comparable to the Trane

agreement. A license “directed to a large collaboration far more complicated than the patent” is

not comparable to one involving only “the patent covering the infringing ... tool at issue.” Lucent

Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1329, n.7 (Fed. Cir. 2009).

       Moreover, Ms. Riley’s claim that the consideration for Trane’s purchase of assets is

evidence of what EcoFactor would accept to license the patents in suit is untethered to the facts of

the case, as patent rights are expressly excluded from the definition of these assets. “There is

simply too great an analytical gap between the data and the opinion proffered.” ProTradeNet, LLC

v. Predictive Profiles, Inc., No. 6:18-CV-00038-ADA, 2019 WL 6499488, at *2 (W.D. Tex. Oct.

11, 2019), quoting General Electric Co. v. Joiner, 522 U.S. 136, 146 (1997). Ms. Riley’s opinions

on the Trane agreement should therefore be excluded.

       In addition, as part of this opinion, Ms. Riley discusses a presentation apparently made by

EcoFactor to Trane during the negotiation of the Asset Purchase Agreement. Riley Rpt. ¶ 48. As

part of this presentation, EcoFactor valued its patent portfolio at                . Id. Ms. Riley

conducts an analysis whereby she divides this number by the number of EcoFactor’s issued patents

and pending patent applications, to conclude that

                                                                              Id. ¶¶ 48-49. This

analysis suffers from the same deficiencies as Ms. Riley’s larger analysis of the Trane Asset

Purchase Agreement: the                figure was provided in the context of negotiations for a non-

comparable agreement. Moreover, there are no facts supporting Ms. Riley’s conclusion that

                              any one of EcoFactor’s patents could be purchased for

         . Id. ¶ 49. See also Riley Dep. at 64:6-10 (claiming the valuation

                                                      ). Ms. Riley admits that the valuation is not




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even an offer to sell EcoFactor’s portfolio for               outside the context of a larger deal.

Riley Dep. at 66:3-8. The presentation is thus certainly not an offer to sell any one EcoFactor

patent at any price. And Ms. Riley provides no evidence whatsoever supporting the assumption

inherent in her calculation that EcoFactor placed equal value on all of its patents and patent

applications. This opinion, based on assumptions unsupported by facts and a document provided

as part of a non-comparable transaction, should be excluded as well.

                       2.      The Bidgely Collaboration Agreement

        Ms. Riley also uses what she calls a

      to criticize Mr. Kennedy’s opinion. Riley Rpt. ¶ 50. But Ms. Riley herself describes the

agreement as a                               under which EcoFactor retained Bidgely to act as an

account manager of EcoFactor’s contract with Nevada Energy, and admits that a patent license is

provided as part of that agreement solely to enable Bidgely provide these services. Id. Ms. Riley

does not contend that this agreement is comparable to the hypothetical negotiation. Riley Dep. at

70:18-71:2. Ms. Riley should therefore be prohibited from opining at trial that the Bidgely

agreement is relevant to damages in this case, and even more importantly should be prohibited

from presenting the agreement as a relevant                                          , as she calls

it in her report.

                       3.      Common Stock Valuations

        Ms. Riley also relies on        valuations of EcoFactor’s common stock dating from 2017

and 2020, opining that

                                                                                    Riley Rpt. ¶¶

161-162. Reliance on valuation of a company as a whole is not an acceptable method of valuing

that company’s patents. See Mformation Techs., Inc. v. Rsch. in Motion Ltd., No. C 08-04990 JW,




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2012 WL 2339762, at *5 (N.D. Cal. June 7, 2012) (valuation of possible target for acquisition not

admissible insofar as they speak not to the value of the particular patent at issue, but rather to the

possible valuation of the company as a whole). It is particularly problematic in this case, as the

valuations on which Ms. Riley relies expressly state that they do not account for EcoFactor’s assets

or income. Ex. D, EF_0895548 at 0895557




                                                        . They are instead based on the high-level

financial results of               companies. Riley Dep. at 104:1-105:24. There is no evidence

that these results are related to these companies’ patent holdings, or that these companies’ patent

holdings are in any way comparable to EcoFactor’s. Riley Dep. at 85:25-86:8. There is therefore

no basis whatsoever for Ms. Riley’s reliance on this valuation to cap the value of EcoFactor’s

patents.

III.   CONCLUSION

       For the foregoing reasons, the Court should exclude Ms. Riley’s rebuttal opinions relying

on non-comparable agreements and valuations at paragraphs 44-50 and parts of paragraph 12 and

43 should be excluded.



Date: December 30, 2022                        Respectfully submitted,


                                               /s/ Reza Mirzaie
                                               Reza Mirzaie
                                               Marc A. Fenster
                                               Kristopher Davis
                                               James Pickens
                                               Minna Chan


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                            Jason Wietholter
                            Russ August & Kabat
                            12424 Wilshire Boulevard, 12th Floor
                            Los Angeles, CA 90025
                            Telephone: (310) 826-7474

                            Matthew D. Aichele
                            Russ August & Kabat
                            800 Maine Ave SW, Suite 200
                            Washington, DC. 20024
                            Telephone: (202) 664-0623

                            Attorneys for Plaintiff EcoFactor, Inc.




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                             CERTIFICATE OF CONFERENCE

       I certify that my firm, including my colleague Jason Wietholter and I, conferred with

Defendant’s counsel regarding the foregoing Motion to Exclude on November 16, 2021.

Defendant’s counsel confirmed that their client opposes the requested relief.

                                             /s/ Kristopher R. Davis
                                             Kristopher R. Davis


                                CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic

service are being served on December 30, 2022, with a copy of this document via the Court’s

CM/ECF.

                                             /s/ Kristopher R. Davis
                                             Kristopher R. Davis




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